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                    Exhibit 1
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                                      SECURITY DEPOSIT AGREEMENT



THIS SECURITY DESPOSIT AGREEMENT is made this 11th day of July 2023 by and between
COMDATA NETWORK, INC., d/b/a Comdata Corporation ("Comdata") and YRC Enterprise Services,
Inc. ("Customer").

WHEREAS, Comdata and Customer have entered into a business relationship whereby Comdata supplies
fuel and lodging credit services and Customer purchases fuel and lodging credit services ("Fuel & Lodging
Credit Services") pursuant to a Master Business Agreement dated October 27, 2005 ("Agreement"); and

WHEREAS, Comdata and Customer have agreed that Customer will secure the obligation to pay for the
Fuel & Lodging Credit Services with a Two Million and 00/100 dollars ($2,000,000.00) deposit as
collateral for the extension of credit and payment of the Fuel and Lodging Credit Services purchases
("Collateral"); and

NOW THEREFORE, intending to be legally bound and in consideration of the mutual covenants and
promises contained herein and for good and valuable other consideration, the sufficiency of which is
hereby acknowledged, the parties agree as follows.



    1.   Prior to July 14, 2023, Customer shall deposit the Collateral with Comdata. The Collateral shall
         be held by Comdata in its general account and will not be segregated from any other funds of
         Comdata. Customer shall not be entitled to any interest that may be earned on the Collateral.
         As collateral security for the extension of credit, Customer hereby grants to Comdata a lien on
         and continuing security interest in, and right of set off against, and acknowledges and agrees
         that Comdata has and shall continue to have a continuing lien on and security interest in, and
         right of set off against, all right, title, and interest of Customer, whether now owned or existing
         or hereafter created, acquired or arising, in and to the Collateral.

    2. Upon 14 days notice to Customer, Comdata shall be entitled to apply the Collateral, or any
       portion thereof, to:

             a.   Balances past due 30 days; or,
             b.   Any checks or ACH payments returned for insufficient funds (including any fees charged
                  as a result of such returned checks).


         Comdata will immediately provide Customer payment details of any Collateral applied to past due
         balances. Any reduction of the Collateral resulting from the use of the Collateral as permitted
         herein shall require Customer to replenish the Collateral so that the Collateral at all times equals
         Two Million and 00/100 Dollars ($2,000,000.00).


   3. Multiple instances of past due payments or insufficient funds notifications may result in the
      requirement that the Collateral be increased.
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         4.
              amount should be adjusted in whole or in part. If Comdata and Customer agree to reduce the
              Collateral amount, Comdata shall return to Customer the amount of such reduction within 10
              days, and the remainder of the of the Collateral shall continue to be held subject to the terms of
              this Agreement. If Comdata and Customer agree to increase the Collateral amount, Customer
              shall deliver such increased amount to Comdata within 10 days.


         5. If Comdata takes any action against Customer for collection of past due amounts, the Collateral
            may be used for the costs of such collection efforts, including but not limited to legal fees and
            court costs.

         6. Notwithstanding anything herein, Customer shall at all times be responsible for the payment of
            all obligations for the purchase of Fuel & Lodging Credit Services and, if the Collateral is used
            to offset those obligations, or any obligations set forth in this Security Agreement, Customer
            shall remain liable for any deficiency. Nothing herein shall limit the rights or remedies of
            Comdata for the failure of Customer to pay for the Fuel & Lodging Credit Services.

         7. Comdata shall return the Collateral, or so much of it that remains after application of any
            portion of the Collateral in accordance with this Agreement, within 10 days after (1) Customer
            secures refinancing of a) United States Treasury Tranche A and Tranche B Term Loan Credit
            Agreements, b) Term loan with Alter Domus as Administrative Agent and c) Customer
            demonstrates ability meet go forward debt service obligations as measured by TTM EBITDA
            compared to annual post refinance debt service obligations for cash interest and current
            maturities; or (2) meets the following conditions precedent:
                  a. Termination of the Agreement;
                  b. Payment of all outstanding invoices for Fuel & Lodging Credit Services; and
                  c. Termination of all obligations of Customer to Comdata under this Agreement.

         8. This Agreement may not be assigned by either party. This Agreement is in supplement to the
            Master Business Agreement. This Agreement shall be construed in accordance with the laws
            of the State of Kansas.




 IN WITNESS WHEREOF, the parties have executed this Collateral Agreement as of the date first written
 above.

YRC Enterprise Services, Inc.                                          COMDATA

Signature:                                                             Signature:

Printed Name:                                                          Printed Name:

Title:                                                                 Title:

Date:                                                                  Date:
